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IN THE UNITED STATES DISTRICT COURT "`""~ -C-
FOR THE WESTERN DISTRICT OF TENNESSEE 05 APR l8 PH

EASTERN DIVISION fin 2: w
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KAREN WRIGHT and ) m w C ON
GILEY WRIGHT’ )
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Plailltiffss )
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Vs. ) No. c)¢<l-izi_°,-T~»°\n
)
WALGREEN CO" )
)
Defendant- )

 

ORDER DENYING DEFENDANT’S MOTION FOR COURT TO
DECLINE TO EXERCISE JUR_ISDICTION AND MOTION TO DISMISS

 

Plaintiffs Karen and Giley Wright have filed this action against Walgreen Company
for personal injuries that allegedly resulted when Plaintiff Karen Wright’ s prescription Was
filled incorrectly by Walgreen pharmacist, Richard Belew. Jurisdiction is predicated on
diversity of eitizenship, 28 U.S.C. § 1332. Defendant has filed a motion to dismiss, and
Plaintiffs have responded to the motion. For the reasons set forth below, Defendant’s
motion is DENIED.

Plaintiffs originally filed a lawsuit in the Madison County Circuit Court, based on the
same set of facts as those in the present action. In the state court action, Plaintiffs sued both

Walgreen and Richard Belew. The case Was set for trial on August 30, 2004. Plaintiffs filed

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a notice of voluntary nonsuit on August 18, 2004.' Plaintiffs then re-filed the action in this
court, naming only Walgreen, an Illinois corporation, as a defendant Plaintiffs and Belew
are Tennessee residents Consequently, this court would not have diversity jurisdiction if
Belew had been named as a defendant Defendant asks the court, in its discretion, to decline
to exercise jurisdiction or, in the alternative, to dismiss the action pursuant to Fed. R. Civ.
P. 19 on the ground that Plaintiffs have failed to join an indispensable party.
Motion for Court to Decline Jurisdiction

Defendant’s request that the court decline to exercise its jurisdiction is based on the
reasoning of McDermott v. Toyota Motor Sales Co., 487 F. Supp. 484 (E.D. Tenn. 1980).
In that case, the court determined that the plaintiffs “forum shopping” was a sufficient
reason for the court to decline to exercise its jurisdiction I_d. at 486. The court explained
its decision as follows:

The federal district courts are courts of limited jurisdiction established to

adjudicate only certain kinds of lawsuits That state and federal courts enjoy

concurrent jurisdiction over some matters cannot serve to reduce the

independence of each. We are not designed to sit in judgment over state
courts, nor to second-guess the studied opinions of state judges. We

 

l Tennessee Rule of Civil Procedure 41 .01 provides a plaintiff with a right to enter a voluntary nonsuit,
dismissing an action without prejudice. The rule states in pertinent part:
Rule 41.01 Voluntary Dismissal--Effect Thereof
(l) Subject to the provisions of Rule 23.05, Rule 23.06, or Rule 66 or of any statute, and except
when a motion for summary judgment made by an adverse party is pending, the plaintiff shall
have the right to take a voluntary nonsuit to dismiss an action without prejudice by filing a written
notice of dismissal at any time before the trial of a cause and serving a copy of the notice upon all
parties, and if a party has not already been served with a summons and complaint, the plaintiff
shall also serve a copy of the complaint on that party; or by an oral notice of dismissal made in
open court during the trial of a cause; or in jury trials at any time before the jury retires to consider
its verdict and prior to the ruling of the court sustaining a motion for a directed verdict.

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recognize that valid tactical considerations may form the basis of a plaintiffs
initial choice of forum, or of his decision to take a non-suit. But an indication
from the trial judge, after the expenditure of court time and litigants' money,
that the plaintiff is not making out his case, is simply not such a valid
consideration To condone such obvious instances of "forum shopping"
would only serve to destroy the independence of the state and federal courts,
and to defeat any hope for judicial economy and the orderly resolution of
cases.

Plaintiff in this case still has ample time to refile his case in state court, and,

if he is not satisfied there, will have the right to appeal to the highest state
court. He is entitled to no more.

In their response, Plaintiff rely on Federal Deposit Ins. Com. v. Nichols, 885 F.Zd

633 (9th Cir. 1989). Nichols criticized McDermott and found that abstention solely due to

 

alleged forum shopping was not appropriate The court noted that it was “aware of no
doctrine of abstention or deference of j urisdiction which authorizes federal courts to decline
to exercise jurisdiction on this ground [forum shopping] alone" although “‘forum shopping’
may be considered as one among numerous factors relevant to determining whether to
defer.” 885 F.3d at 637. The court further explained that

the Supreme Court‘s decisions also make it clear that Colorado River| Water
Conservation Districtv. United States. 424 U.S. 800 (1976)] deference, which
is grounded on considerations of “wise judicial administration” and
“conservation of judicial resources,” is available only “in situations involving
the contemporaneous exercise of concurrent jurisdictions, either by federal
courts or by state and federal courts.” Colorado River, 424 U.S. at
817(emphasis added). In this case, there was no concurrent or pending state
court proceeding when Downey moved for dismissal or when the district
judge declined to act. The state action was dismissed without prejudice (1)
on the same day the FDIC's federal action Was filed and (2) almost three
months before the district court's dismissal It was therefore an abuse of

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discretion to decline jurisdiction under the Colorado River doctrine. See also
Cone |Moses H. Cone Memorial Hospital v. Mercug; Construction Corp., 460
U.S. l, 28] (“When a district court decides to dismiss or stay under Colorado
River, it presumably concludes that the parallel state-court litigation will be
an adequate vehicle for the complete and prompt resolution of the issues
between the parties. If there is any substantial doubt as to this, it would be a
serious abuse of discretion to grant the stay or dismissal at all.”)

 

I_d. at 637-38 (some citations omitted). The holding of McDermott and Eager v. Kain, 158
F. Supp. 222 (E.D. Tenn.l957), that abstention for forum shopping alone is proper, was

rejected as follows:

McDermott had filed a prior, identical action in state court, and defendants
had moved for summary judgment Although defendants' motion was denied
"out of an abundance of caution," the state judge indicated that he would look
favorably upon defendants1 motion for directed verdict after trial unless
McDermott brought forward additional facts. McDermott then took a
voluntary non-suit and reinstituted the action in federal court. Relying
primarily on M, the district judge in McDermott abstained on the grounds
that McDermott had improperly engaged in “forum shopping.” Similarly, in
w the court dismissed the action of a plaintiff who had taken a non-suit at
the close of trial in an identical action in state court. The court in Eager cited
forum shopping as the reason for its abstention

We conclude that McDermott and Eager were wrongly decided. We do not
believe they can be squared with the Supreme Court's abstention doctrines or
its teaching that abstention from federal jurisdiction “is the exception, not the
rule.” Colorado River, 424 U.S. at 813. Federal courts have a “virtually
unflagging obligation to exercise the jurisdiction given them.” LcL at 817.
For this reason, “abstention from the exercise of federal jurisdiction is
considered ‘an extraordinary and narrow exception to the duty of a District
Court to adjudicate a controversy properly before it.”’ American
International, 843 F.2d at 1256, quoting §§olorado River, 424 U.S. at 813.
We conclude that the district judge abused her discretion in abstaining based
on forum shopping alone.

885 F.3d at 637 (some citations omitted).

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In the present case, in the light of the fact that diversity jurisdiction exists and there
is no pending state litigation, the court will not decline to exercise jurisdiction Although
Defendant urges the court to consider that state law controls Plaintiffs’ claims, this is true
in any federal court action based on diversity jurisdiction Thus, the court gives this factor
little weight

Motion to Dismiss

Defendant also asks the court to dismiss the action on the ground that Plaintiffs have
failed to name a necessary party. According to Defendant, Richard Belew, the pharmacist,
is a necessary party. Therefore, Defendant argues that the action must be dismissed

Rule 19 of the Federal Rules of Civil Procedure provides, in part:

(a) Persons to be Joined if Feasible. A person who is subject to service of

process and whose joinder will not deprive the court of jurisdiction over the

subject matter of the action shall be joined as a party in the action if (l) in the
person's absence complete relief cannot be accorded among those already
parties, or (2) the person claims an interest relating to the subject ofthe action

and is so situated that the disposition of the action in the person's absence may

(i) as a practical matter impair or impede the person's ability to protect that

interest or (ii) leave any of the persons already parties subject to a substantial

risk of incurring double, multiple, or otherwise inconsistent obligations by

reason of the claimed interest

It is undisputed that the j oinder of Richard Belew would defeat diversity j urisdiction.
However, "complete relief" can “be accorded among those already parties" without the
joinder of Belew. Fed. R. P. l9(a). This action is based on the alleged negligence of
Defendant’s employees In Johnson v. LeBonheur Children's Medical Center, 74 S.W.3d

338 (Tenn. 2002), the Tennessee Supreme Court discussed the doctrine of respondeat

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superior:

When an agency relationship exists, the principal may be bound by the acts of

the agent performed on the princip al's behalf and within the actual or apparent

scope of the agency. In Tennessee, the doctrine of respondeat superior permits

the master/principal to be held liable for the negligent actions of his

servant/agent To hold the master/principal vicariously liable, "it is enough

that the servant or agent was acting in the business of his superior."
74 S.W.3d at 343 (citations omitted). Thus, Plaintiffs can be made whole if they recover
against Defendant

Additionally, Belew does not have a legally protected interest in the subject of this
action, B 3A J ames W. Moore et al., Moore's Federal Practz'ce il l9.07[2.-0] (2d ed. 1985)
(The "interest" required for joinder under Rule l9(a)(2) must be a legally protectable
interest) Defendant asserts that an award of damages could affect Belew’s "professional
reputation, his insurability in the future, and his future employability." Defendant’s Memo.
at p. ll. Even if Defendant is correct, Belew would be at most a "slandered outsider"
without a legally protected interest §§e, lntercept Sec. Corp. v. Code-Alarm, Inc., 164
F.R.D. 215, 220 (E.D. Mich. 1995). See also Sierra Club v. United States Armv Coros of
Engineers, 709 F.2d 175 (2“d Cir.1983) (party not necessary because firm's concern that "its
professional reputation is under attack" is not an interest relating to the subject ofthe action,
and an adverse judgment would have, at most, an indirect effect on the firm); Pasco Int'l
(London) Ltd. v. Stenograph Corp., 637 F.2d 496 (7th Cir. 1980) (In an action against

corporations with which plaintiffs former chief engineer entered into an exclusive agency

agreement and with which the chief engineer allegedly conspired to induce the foreign

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government to bypass plaintiff, any adverse consequences on the chief engineer's business
reputation based on a judgment against the corporation was not a sufficient interest for
finding the chief engineer indispensable for joinder purposes.)

Because Belew is not a necessary party to the action, no determination under Rule
19(b) is required. § Temple V. Smthes Corp., 498 U.S. 5, 8 (1990) (Rule 19(b) inquiry
is required only if party satisfies the threshold requirements of Rule l9(a)).

Accordingly, Defendant’s motion for the court to decline jurisdiction and motion to
dismiss are DENIED.

IT IS SO ORDERED.

Z).W

JA ES D. TODD
ITED STATES DISTRICT IUDGE

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DATE '

 

 

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This notice confirms a copy of the document docketed as number ll in
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Honorable J ames Todd
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